                    Exhibit A




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                           UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA


FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA,
STATE OF COLORADO,
STATE OF ILLINOIS,
STATE OF INDIANA,
STATE OF IOWA,
STATE OF MINNESOTA,
STATE OF NEBRASKA,
STATE OF OREGON,                                       Case No. 22-cv-828
STATE OF TENNESSEE,
STATE OF TEXAS,                                        DECLARATION OF VERN
STATE OF WASHINGTON,                                   HAWKINS IN SUPPORT OF
and                                                    SYNGENTA’S RESPONSE TO
STATE OF WISCONSIN,                                    THE FTC’S MOTION TO FILE
                                                       PORTIONS OF THE AMENDED
                Plaintiffs,                            COMPLAINT TEMPORARILY
                                                       UNDER SEAL
        v.

SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and
CORTEVA, INC.,

                Defendants.



       I, Vern Hawkins, declare as follows:

       1.      I am the President of Defendant Syngenta Crop Protection, LLC (“Syngenta”) and

the Regional Director of Syngenta’s North American Crop Protection business. In my role at

Syngenta, I oversee Syngenta’s sales and marketing operations in the United States with respect

to its crop protection products.




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       2.      I have personal knowledge of the facts stated in this declaration or have become

aware of such facts through my role at Syngenta. If called upon to testify, I could and would

competently testify thereto.

       3.      I understand that Plaintiff Federal Trade Commission (the “FTC”) filed an

Amended Complaint (ECF No. 79) (“Amended Complaint”) on December 23, 2022, redacting

from the publicly filed Amended Complaint certain confidential information that it received

during its pre-Complaint investigation from Syngenta, Corteva, Inc., and certain non-parties.

       4.      I further understand that the FTC filed a Motion to File Portions of the Amended

Complaint Temporarily Under Seal (ECF No. 80) (“Motion to Seal”) on December 23, 2022, for

a period of 14 days.

       5.      I understand that Syngenta is submitting a Response to the Motion to Seal to

request that the Court continue to keep under seal certain confidential information in the

Amended Complaint that is commercially or competitively sensitive for Syngenta’s business.

The confidential information that Syngenta proposes redacting falls into three categories.

       6.      First, Syngenta proposes to redact certain allegations in the Amended Complaint

that disclose the terms of Syngenta’s business agreements with third parties or details of the

negotiations of these agreements. The terms of these agreements and their negotiations are

competitively and commercially sensitive business information and are confidential.

       7.      Second, Syngenta proposes to redact certain allegations in the Amended

Complaint concerning internal Syngenta documents that describe or analyze Syngenta’s

competitive strategies concerning sales and marketing. These sales and marketing strategies are

confidential and commercially sensitive information, and revealing such information would pose

a risk of competitive harm to Syngenta’s business.



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       8.      Third, Syngenta proposes to redact certain allegations in the Amended Complaint

concerning confidential business and financial information, including analyses of pricing and

sales data and information about specific Syngenta customers. This information is commercially

sensitive because it relates to Syngenta’s internal views on and strategies for competing in the

crop protection industry, and its disclosure would competitively disadvantage Syngenta.

       9.      The foregoing information is commercially and competitively sensitive. It is also

not publicly known, and Syngenta has maintained its confidentiality. When Syngenta provided

this information to the FTC in connection with the FTC’s pre-Complaint investigation, Syngenta

required that the FTC maintain its confidentiality. Public disclosure of this information—which

would make the information available to Syngenta’s business competitors and contractual

counter-parties—poses a risk of harm to competition and/or risks placing Syngenta at a

competitive and commercial disadvantage.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed on: January 5, 2023




                                                             ______________________________
                                                             Vern Hawkins




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